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                        EXHIBIT B
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

COMMITTEE FOR A FAIR AND                             )
BALANCED MAP, JUDY BIGGERT,                          )
ROBERT J. DOLD, RANDY HULTGREN,                      )
ADAM KINZINGER, DONALD MANZULLO,                     )
PETER J. ROSKAM, BOBBY SCHILLING,                    )
AARON SCHOCK, JOHN M. SHIMKUS, JOE                   )
WALSH, RALPH RANGEL, LOU                             )
SANDOVAL, LUIS SANABRIA, MICHELLE                    )
CABALLERO, EDMUND BREZINSKI, and                     )
LAURA WAXWEILER,                                     )   Case No. 1:11-cv-05065
                                                     )
                   Plaintiffs,                       )   Judge Joan Humphrey
v.                                                   )   Lefkow
                                                     )   Judge John Daniel Tinder
ILLINOIS STATE BOARD OF ELECTIONS,                   )   Judge Robert L. Miller
WILLIAM M. MCGUFFRAGE, JESSE R.                      )
SMART, BRYAN A. SCHNEIDER, BETTY J.                  )
COFFRIN, HAROLD D. BYERS, JUDITH C.                  )
RICE, CHARLES W. SCHOLZ, and ERNEST                  )
L. GOWEN,                                            )
                                                     )
                   Defendants.                       )
                                                     )

                 PLAINTIFFS’ STATEMENT OF COMPLIANCE WITH
                  FED. R. CIV. PROC. 37(a)(1) and LOCAL RULE 37.2
            IN SUPPORT OF THEIR MOTION TO COMPEL ENFORCEMENT
                           OF THIRD PARTY SUBPOENA

       Prior to filing Plaintiffs’ Motion to Compel Enforcement Of Third Party Subpoena,

counsel for Plaintiffs and counsel for Respondents conferred in good faith in an effort to resolve

their dispute without court intervention, including by taking the following actions:

       1.      On August 19, 2011, Plaintiffs served the Subpoenas on Illinois House of

Representatives, Office of the Speaker of the Illinois House of Representatives, Office of the

Illinois Senate President, Illinois House Redistricting Committee, the Illinois Senate

Redistricting Committee Respondents, Illinois Senate, Travis Shea, Ronald Holmes, and Bria

                                                 2
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Scudder, returnable on August 29, 2011. Service was completed between August 19 and August

22.

       2.      On August 24, 2011, counsel for Plaintiffs (Lori E. Lightfoot) conferred by

telephone with counsel for Respondents (David E. Ellis) about the documents requested by the

Subpoenas.    Counsel for Plaintiffs expressed their willingness to work with counsel for

Respondents to extend the August 29, 2011 return date to accommodate Respondents’ request

for additional time to comply with the Subpoenas. The parties agreed to a conference call on

August 29, 2011 to discuss further a mutually agreeable date for the production.

       3.      Between August 25, 2011 and August 29, 2011, counsel for Respondents

exchanged a number of emails confirming the substance of the August 24, 2011 call.

       4.      On August 29, 2011 counsel for Plaintiffs and Counsel for Respondents discussed

the Subpoenas in a conference call. Participating for Plaintiffs were Lori E. Lightfoot, and Dana

Douglas. For Respondents were Eric Madiar and David E. Ellis.

       5.      On August 29, 2011, counsel for Plaintiffs received documents they had earlier

requested from Respondents under the Freedom of Information Act (“FOIA”).

       6.      On September 2, 2011 counsel for Respondents sent a letter to Plaintiffs’ counsel

in which they stated their objections to the Requests. For each request, in addition to other

objections, counsel for Respondents asserted that the request “seeks documents or

communications that are protected by legislative immunity [and/or] the deliberative process

privilege.”

       7.      Following receipt of the September 2 letter, counsel for Plaintiffs spoke once

more by phone with counsel for Respondents on Tuesday, September 5, 2011. Present for

Plaintiffs were Lori E. Lightfoot, Thomas Panoff, Dana S. Douglas, and Michael D. Frisch.



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Present for Respondents were Mike Layden, Eric Madiar, and David E. Ellis. On that call,

counsel for Respondents reiterated their objections based on legislative immunity and the due

process privilege. They further stated that, in their view, everything that they were obliged to

produce had already been included in the material sent in response the FOIA request; and they

were therefore not required to produce anything more. In addition, counsel for Respondents

stated that they did not intend to provide a privilege log, as legislative immunity relieved them of

this obligation.

        8.         On September 7, 2011, Counsel for Timothy Mapes accepted service of the

remaining subpoenas. Counsel for both parties agreed that the previously-made objections

would apply to new group of Subpoenas as well.

        9.         From September 12 to and including the date of this filing, counsel for Plaintiffs

and Counsel for respondents exchanged a number of emails about the impending motion to

compel. On September 14, Counsel for Plaintiffs (Thomas Panoff and Michael Frisch) and

Counsel for Respondents (Eric Madiar and Richard Prendergast) tentatively agreed to consent to

the jurisdiction of this Court to resolve their disputes regarding all of the Subpoenas served to

date, whether served in this district or in the Central District of Illinois. That agreement was

confirmed in a series of e-mails on September 15, 2011.

        WHEREFORE, for the foregoing reasons, Plaintiffs have satisfied their obligations

pursuant to Fed. R. Civ. P. 37(a)(1) and Northern District of Illinois Local Rule 37.2. Despite

their good faith efforts, Plaintiffs’ counsel could not resolve the matters brought to the Court in

the instant motion.

Dated: September 15, 2011                               Respectfully submitted,

                                                        /s/ Lori E. Lightfoot_



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